      Case 1:15-cr-00182-PKC Document 61 Filed 06/11/19 Page 1 of 1 PageID #: 444



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                                                                                June 11, 2019
BY ECF

Honorable Pamela K. Chen
United States District Judge
225 Cadman Plaza East
Brooklyn, New York 11201

Re:     United States of America v. Ahmad Sheikhzadeh, Docket Number 15-Cr-182 (PKC)
        Unopposed Motion to Release Passports

Dear Judge Chen:

        I am pleased to advise the Court that Dr. Sheikhzadeh’s term of supervised release will terminate
on July 5, 2019. It is my understanding that he has complied with all of the conditions of supervision, and
there is no reason to believe that he will not complete this portion of his sentence. Accordingly, and for
the reasons set forth below, I write to request that the Court issue an order releasing Dr. Sheikhzadeh’s
passports forthwith.

        Dr. Sheikhzadeh has scheduled a trip to visit his family in the Islamic Republic of Iran. The
departure date is July 11, 2019. While this date is after the anticipated date on which his period of
supervised release comes to an end, he is concerned that his passport may not be released in time to ensure
that he can complete the travel requirements. Given the fact that Dr. Sheikhzadeh has demonstrated that
he is not a risk of flight together with the impending completion of supervised release, there does not
appear to be any reason for pretrial services to continue to retain possession of his passports.

        I have discussed this application with United States Probation Officer, Zondra Jackson (SDNY),
and she advised me that the U.S. Probation Department consents. I have also discussed this application
with AUSA Craig Heeren, and he advised me that the government does not object.

        Thank you very much for your consideration in this matter.



                                                                        Respectfully submitted,

                                                                                /s/

                                                                        Steve Zissou
cc: Zondra_Jackson@nysp.uscourts.gov
    craig.heeren@usdoj.gov
